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r.'r"l} 05 "?-.i'
ANDRE PARKS, )
)
Plaintiff, )
v ) Civil Action No. 03-2574-Ma
)
SGT. KENNETH BOYI), et al., )
)
Defendan'ts. )

 

AGREED ORDER OF DISMISSAL

 

The Plaintit`f, Andre Parks, Pro Se, and Defendants, by and through the Attorney Gerieral
for the State ofTennessee have agreed to dismiss this action for the reason that they have
amicably resolved their dispute Therefore, the Court, having reviewed this matter and being
fully advised in the premises FINDS that this matter should be dismissed

lt is therefore ORDERED that this matter be and hereby is dismissed with prejudice

tr is so oRDERED this _May Or A :)°Jj’ ,2005.

THTED sTATEs DISTRICT JUDGE

 

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Agreed and approved,

 

ANl')RE PARKS

Pro Se Plaintiff

423 W. Ripley Street
Covington, Tennessee 38019

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PAUL G. SUMME-RS
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sw
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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 108 in
case 2:03-CV-02574 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

